
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-313-
CV



IN RE ROMAN CATHOLIC	RELATOR

DIOCESE OF FORT WORTH



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's “Motion For Temporary Relief” and petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's motion for temporary relief and petition for writ of mandamus are denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B
:	HOLMAN, WALKER, and MCCOY, JJ.





DELIVERED: October 22, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




